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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE


Dennis Maurer, Individually,               :
                                           :
             Plaintiff,                    :
                                           :
vs.                                        :
                                           :                   Case No.
McDonald's Real Estate Company, a Delaware :
Corporation,                               :
             Defendant.                    :
__________________________________________:




                                          COMPLAINT

       Plaintiff, DENNIS MAURER, an individual on his behalf and on behalf of all other mobility

impaired individuals similarly situated hereby sues the Defendant, McDONALD'S REAL ESTATE

COMPANY, a Delaware Corporation (hereinafter sometimes referred to as "Defendant" or

"McDonalds"), for injunctive relief, damages, attorney's fees, litigation expenses, and costs pursuant

to the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. ("ADA") and the New Jersey Law

Against Discrimination, N.J.S.A. 10:5-12.

                                 COUNT I
                      VIOLATION OF TITLE III OF THE
            AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12181, et seq.
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        1.      Plaintiff, DENNIS MAURER, is an individual residing at 8 Prospect Avenue, Egg

Harbor Township, New Jersey 08234, in the County of Atlantic.

        2.      Defendant, McDONALD'S REAL ESTATE COMPANY, holds title to the subject

property alleged by the Plaintiff to be operating in violation of Title III of the ADA.

        3.      Defendant's property, also known as McDonald's Store #4592, is located at 900 West

Avenue, Ocean City, NJ 08226, in the County of Cape May.

        4.      Venue is properly located in the District of New Jersey because venue lies in the

judicial district of the property situs. The Defendant's property is located in and does business

within this judicial district.

        5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

original jurisdiction over actions which arise from the Defendant's violations of Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

        6.      Plaintiff, DENNIS MAURER, is a New Jersey resident, is sui juris, and qualifies as

an individual with disabilities as defined by the ADA. Plaintiff has multiple sclerosis, is mobility

impaired and requires the use of a wheelchair to ambulate.

        7.      Plaintiff has visited the property that forms the basis of this lawsuit on several

occasions and plans to return to the subject property in the near future to avail himself of the goods

and services offered to the public at the property.

        8.      Plaintiff has encountered architectural barriers at the subject property. The barriers

to access at the property have endangered his safety.

        9.      Defendant owns, leases, leases to, or operates a place of public accommodation as

defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.

Defendant is responsible for complying with the obligations of the ADA. The place of public


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accommodation that the Defendant owns, operates, leases or leases to is known as McDonald's Store

#4592, and is located at 900 West Avenue, Ocean City, NJ 08226.

          10.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination

from the Defendant's non-compliance with the ADA with respect to this property as described but

not necessarily limited to the allegations in paragraph 13 of this complaint.

          11.   Plaintiff has reasonable grounds to believe that he will continue to be subjected to

discrimination in violation of the ADA by the Defendant. Plaintiff desires to visit McDonald's Store

#4592, not only to avail himself of the goods and services available at the property but to assure

himself that this property is in compliance with the ADA so that he and others similarly situated will

have full and equal enjoyment of the property without fear of discrimination.

          12.   The Defendant has discriminated against the individual Plaintiff and others similarly

situated by denying them access to, and full and equal enjoyment of, the goods, services, facilities,

privileges, advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182

et seq.

          13.   The Defendant has discriminated, and is continuing to discriminate, against the

Plaintiff in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000

or less). A preliminary inspection of the Defendant's property, McDonald's Store #4592, has shown

that violations of the ADA exist. The following are violations that DENNIS MAURER has

personally encountered or observed during his visits to the subject property:




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Parking and Exterior Accessible Route
          a.   Accessible parking spaces provided by McDonald’s are not maintained and are
located on a slope greater than 2.0%, violating Sections 502 and 502.4 of the 2010 Accessibility
Standards.
          b.   Accessible parking provided by McDonald’s leads to an improper ramp, violating
Sections 402 and 405 of the 2010 Accessibility Standards. The improper curb ramp provided
endangers the safety of Mr. Maurer because it presents a tipping hazard and can cause damage to his
wheelchair.
          c.   Parking provided at McDonald’s fails to provide a safe accessible route from the
parking area to the entrance, violating Section 502 of the 2010 Accessibility Standards. While
traveling from the parking area to the restaurant, Mr. Maurer is forced to travel through traffic to
reach the curb ramp, adding the danger of encountering automobiles.
          d.   The exterior accessible route at the subject property was found to contain cross
slopes, abrupt changes of level and curb ramps with excessive slopes violating Sections 403.4 and
402 of the 2010 Accessibility Standards. Mr. Maurer is forced to travel through slopes and changes
of level to reach the entrance of the restaurant, these conditions present Plaintiff with a tipping
hazard.
          e.   Defendant fails to provide an accessible route to the adjacent street, sidewalk or bus
stop, violating Section 206.2.1 of the 2010 Accessibility Standards. The lack of an accessible route
removes the option of using public transportation for Mr. Maurer.


Access to Goods and Services
          f.   Defendant fails to provide an interior or exterior accessible table, violating Section
902 of the 2010 Accessibility Standards. The lack of accessible tables has affected Mr. Maurer’s
ability to dine comfortably while at the restaurant.
          g.   While attempting to enter McDonald's, Mr. Maurer was impeded by abrupt changes
of level and a lack of maneuvering clearance at the door, violating section 404 of the 2010
Accessibility Standards. Due to the presence of these conditions Mr. Maurer could not enter the
restaurant without assistance nor without the fear of tipping or incurring damage to his wheelchair.




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Restrooms
       h.      McDonald’s provides restroom doors with improper door hardware and a lack of
latch side clearance which impeded Mr. Maurer’s maneuvering clearance while exiting, violating
Section 404 of the 2010 Accessibility Standards.
       i.      McDonald’s provides water closets with flush controls mounted on the wall side and
improper centerlines, violating Section 604 of the 2010 Accessibility Standards. Mr. Maurer was
unable to access flush controls while in the restroom due to improper location.

       14.     Each of the foregoing violations is also a violation of the 1991 American with

Disabilities Act Accessibility Guidelines (ADAAG) and the 2010 Standards for Accessible Design,

as promulgated by the U.S. Department of Justice.

       15.     The discriminatory violations described in paragraph 13 are not an exhaustive list of

the ADA violations that exist at Defendant's property. Plaintiff requires thorough inspection of the

Defendant's place of public accommodation in order to photograph and measure the architectural

barriers which exist at the subject property and violate the ADA. The individual Plaintiff, and all

other individuals similarly situated, have been denied access to, and have been denied the benefits of

services, programs and activities of the Defendant's buildings and its facilities, and have otherwise

been discriminated against and damaged by the Defendant because of the Defendant's ADA

violations, as set forth above. The individual Plaintiff and all others similarly situated will continue

to suffer such discrimination, injury and damage without the immediate relief provided by the ADA

as requested herein. In order to remedy this discriminatory situation, the Plaintiff requires an

inspection of the Defendant's place of public accommodation in order to determine all of the areas of

non-compliance with the ADA.

       16.     Defendant has discriminated against the Plaintiff by denying them access to full and



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equal enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of

its place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to discriminate against the

Plaintiff and all those similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all offered goods, services,

facilities, privileges, advantages or accommodations to individuals with disabilities; and by failing to

take such efforts that may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.

       17.     Plaintiff is without adequate remedy at law and is suffering irreparable harm.

Considering the balance of hardships between the Plaintiff and the Defendant, a remedy in equity is

warranted. Furthermore, the public interest would not be disserved by a permanent injunction.

       18.     Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR

36.505.

       19.     Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that have

existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant's place of public accommodation since January 26, 1992, then the Defendant

is required to ensure – to the maximum extent feasible – that the altered portions of the facility are

readily accessible to and useable by individuals with disabilities, including individuals who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant's facility is one which was designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then


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the Defendant's facility must be readily accessible to and useable by individuals with disabilities as

defined by the ADA.

       20.     Notice to Defendant is not required as a result of the Defendant's failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and

gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff or

waived by the Defendant.

       21.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter McDonald's Store #4592 and

make the subject property readily accessible and useable to the Plaintiff and all other persons with

disabilities as defined by the ADA; or by closing the subject property until such time as the

Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

    commencement of the subject lawsuit is in violation of Title III of the Americans with

    Disabilities Act, 42 U.S.C. § 12181 et seq.

        b.     Injunctive relief against the Defendant including an order to make all readily

    achievable alterations to the facility; or to make such facility readily accessible to and usable by

    individuals with disabilities to the extent required by the ADA; and to require the Defendant to

    make reasonable modifications in policies, practices or procedures, when such modifications are

    necessary to afford all offered goods, services, facilities, privileges, advantages or

    accommodations to individuals with disabilities; and by failing to take such steps that may be

    necessary to ensure that no individual with a disability is excluded, denied services, segregated

    or otherwise treated differently than other individuals because of the absence of auxiliary aids


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    and services.

        c.      An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

    § 12205.

        d.      Such other relief as the Court deems just and proper, and/or is allowable under

    Title III of the Americans with Disabilities Act.

                                   COUNT II
             VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION
                                (N.J.S.A. 10:5-12)

       22.      Plaintiff re-alleges and incorporates by reference all allegations set forth in this

Complaint as fully set forth herein.

       23.      Defendant's facility is a place of public accommodation as defined by N.J.S.A 10:5-5,

(New Jersey Law Against Discrimination).

       24.      New Jersey law provides that all persons shall have the opportunity to obtain all the

accommodations, advantages, facilities, and privileges of any public place of accommodation

without discrimination on the basis of disability. This opportunity is recognized and declared to be a

civil right (N.J.S.A. 10:5-4.)

       25.      As set forth above, Defendant has violated the New Jersey Law Against

Discrimination by denying disabled individuals the full and equal enjoyment of the goods, facilities,

services and accommodations available at the subject property, McDonald's Store #4592.

       26.      As a result of the aforementioned discrimination, Plaintiff DENNIS MAURER has

sustained emotional distress, mental anguish, suffering and humiliation, and other injuries, in

violation of the New Jersey Law Against Discrimination.

WHEREFORE, Plaintiff, DENNIS MAURER respectfully demands judgment for damages,

attorney's fees, litigation expenses, including expert fees and costs pursuant to the New Jersey Law


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Against Discrimination.



Respectfully submitted,


        March 14, 2018
Dated:_____________________        /s/ Jon G Shadinger Jr.
                                  __________________________
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